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         From:              Chri s G
         Sent:              Friday, January 24, 2020 11:25 AM PST
         To:                Glenn P
         CC:                David
         Subject:           Fw: REB MEMORANDUM OF UNDERSTANDING (002)
         Attachments:       REB MEMORANDUM OF UNDERSTANDING (002) .docx



         Sincerely,
         Chris Gibson
         Chief Operations Officer
         Rebotix Repair
         539 Pasadena Ave S
         St. Petersburg, FL 33707
         P: 727-345-6362
         F: 727-343-4637
         https://www.rebotixrepair.com
         From: Greg Posdal <gposdal@sis-usa.com>
         Sent: Friday, January 24, 2020 1:11 PM
         To: Chris G <chris@rebotixrepair.com>
         Subject: REB MEMORANDUM OF UNDERSTANDING (002)

         Chris,

         Here is the Memorandum




                                                                                                UNITED STATES DISTRICT COURT
                                                                                              NORTHERN DISTRICT OF CALIFORNIA


                                                                                                 TRIAL EXHIBIT 769

                                                                                                 Case No. 3:21-cv-03496-AMO
                                                                                                 Date Entered _ _ __
                                                                                                 By _ _ _ _ _ __
                                                                                                        Deputy Clerk




ATTORNEYS' EYES ONLY                                                                                          REBOTIX067735
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                                       MEMORANDUM OF UNDERSTANDING

                 This Memorandum is entered into between Surgical Instrument Service Company, Inc.
         ("SIS") and Rebotix/F21 ("Rebotix").

                Whereas, Rebotix has developed proprietary know how and technology related to
         extending the life of an Intuitive detachable robotically controlled device;

                Whereas, Rebotix has several issued patents related to that technology, including US
         Patent No. 9,527,208 and 9,247,996;

                Whereas, Rebotix seeks to have SIS market and sell the patented technology;

                Whereas, SIS intends to invest substantial resources in developing markets for the
         Interceptors that include the patented technology;

                Whereas, SIS seeks to protect its investment in markets for the patented Interceptors by
         ensuring that it maintains its right to sell these products in the event that Rebotix is unable to
         meet SIS requirements, or if Rebotix sells the patented technology;

                NOW, THEREFORE, the parties enter into this Memorandum of Understanding, hereby
         agree to the following terms, which are to be incorporated into a final Agreement;

         1.     SIS agrees that it will acquire its requirements for Interceptors from Rebotix for as long
         as Rebotix is willing and able to fulfill SIS requirements for Interceptors. Rebotix agrees that all
         such sales are fully licensed under any and all Intellectual Property (patents and know how)
         owned or controlled by Rebotix.

         2.     Pricing for the Interceptors purchased by SIS shall be set according to a volume
         discount:

                    •   For the first 100 (combination Interceptors/repairs) the discount from current
                        pricing per Interceptor or repair shall be $200,
                    •   For the next 200 (combination Interceptors/repairs) the discount from current
                        pricing per Interceptor or repair shall be $350,
                    •   For all Interceptors or repairs (combined) over 300 the discount from current
                        pricing per Interceptor or repair shall be $450

         3.      Once SIS has purchased a combination of 300 Interceptors or repairs Rebotix will grant a
         license to SIS to make, use, sell and offer for sale, systems that embody or practice any
         Intellectual Property owned or controlled by Rebotix (or any successor in interest to Rebotix).
         For the avoidance of doubt, if Rebotix sells any portion of its business, or Intellectual Property,
         to Intuitive, SIS shall maintain its license to make, use, sell, or offer for sale, the Interceptors.




ATTORNEYS' EYES ONLY                                                                                     REBOTIX067736
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         For each licensed chipset SIS under this provision SIS shall pay a royalty of $SO for the use of the
         Rebotix Intellectual Property and know how.

         4.      At the time that SIS becomes licensed under the Intellectual Property Rebotix shall make
         all technical information reasonably necessary to manufacture Interceptors under the licensed
         know how. SIS will continue to purchase its requirements of Interceptors under the terms
         outlined in Paragraph 2, above, for so long as Rebotix is willing and able to meet SIS's
         requirements. SIS reserves the right to make, or have made, Interceptors using the licensed
         technology if Rebotix is unable to unwilling to meet SIS's requirements.




ATTORNEYS' EYES ONLY                                                                                    REBOTIX067737
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